Case 1:13-cv-06142-NG-PK Document 134 Filed 11/27/18 Page 1 of 4 PageID #: 1354



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                       X

RAWON SHEPHERD,
                                                                           STIPULATION OF
                                                         Plaintiffs,       SETTLBMENT

                                -against-                                  l3-cv-6142 (NG)
Det. ROBERT MAYER, Sgt. PATRICK MCGRATFJ, & Sgt.
DAVID GRIECO,

                                                       Defendants.
                                                                       X



                 WHEREAS, plaintifft comm€nced this action by filing a complaint on or about

November 6,2A13, alleging that the defendants violated plaintiffs' ftderal civil rights; and
            '
                 WHEREAS, defendants Detective Robert Mayer, Sergeant David Grieco,                    and

Sergeant Patrick McGrath have denied any and         all liability arising out of plaintiffs' allegation.s;

and

                 WHERBAS, the parties now desire to resolve the issues raised in this litigation,

without firrther proceedings and without admirting any fault or liability; and

                 WHEREAS, plaintifl's have authorized his counsel to settle this rnatter on the

terms set forlh belor,l';

                 NOW, THEREFORB,             IT IS HEREBY STIPULATED AND AGREED, bY
and between the undersigned, as follorvs:

                 L          The above-referenced action is hereby dismissed against defendants, with

prejudice. and without costs, expenses, or attorneys' fees except as specified in paragraph "2"

belor.r,.
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                2-       The City of New York hereby agrees to pay plaintiff Rayvon Shepherd rhe

sum   of Three Thousand Five Flundred ($3,500.00) Dollars in full sarisfaction of'all             claims,

including claims for costs, expenses and attomeys' fees. In consideration for the payment              of
these sums, plaintit?s agree   to dismissal of all the claims against the defendants and to release

defendants Detective Mayer, Sergeant Grieco and Sergeant McGrath; their sucessors or assigns;

and all past and present   officials, employees" representatives, and agents of the City of New york

or any entity represented by the OfJice of the Colporation Counsel, fronr any and all liability,

claims. or rights of action alleging a violation of plaintiffs' civil rights and any and all related

state law claims,   from the beginning of the world to the date of the General Release, including

claims fbr costs, expensesr and attorneys' f'ees.

               3.       Plainliffs each shall execute and serve on the City of Nevr York's attorney

by legal tender (either by personal service or certified rnail) at 100 Church Street, New York,

New York 10007 all documents necessary to effect this settlernent, including" rvithout limitation,

a General Release, based on the terms of paragraph "2'? above, IRS Form W-9, and an           Affidavit

of Status of Liens. Prior to tendering the requisite documents to effect this settlement, Medicare-

recipient plaintilfs must obtain and subnrit a final demand letter fiorn their Medicare provider(s)

for the reimbursement of any conditional payments made for the injuries claimed in this matter.

A Medicare Set-Aside Trust may also be required if future anticipated medical costs are found to

be necessa.ry pursuant to 42 U.S.C. g 1395y(b) and 42 C.F.R. g$    4l   1.22 through   4t'-.26.

               4.       Nothing contained herein shall be deemed to be an adm:ssion by the

defendants that they' have   in any manner or way violated plaintiff.s rights. or the rights of      an1'

other person or entity, as defined in the constitutions, statutes, ordinances. rules or regulations   of
the United States, the State of New York, or the City of New York or any c,ther rules or




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regulations of any department or subdivision of the City of New      York. This stipulation shall not
be admissible in, nor is   it   related to. any other litigation or settlement negotlations, except to

enforce the terms of this agreement.

                 5.    Nothing contained herein shall be deemed to constitute a policy or practice

of the City of New York or any agency thereof,

                 6.    Plaintiffs agree to hold harmless defendants regarding any past an#or

future Medicare claims, presently known or unknown,            in connection with this matter. If
Medicare claims are not satisfied, defendants and the City of New York reserve the right to issue

a multiparty settlement check naming the Medicare provider as a payee or to issue a check

directly io the Medicare provider for the amount claimed in the lr4edicare provider's final

demand letter.

                 7.   This Stipulation of Settlenent contains all the terms and conditions agreed

upon by the parties hereto, and no oral agreement entered into at any time nor any written

agreement entered into prior to the execution       of this Stipulation of Settlement regarding   the

subject matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or

to vary the terms and conditions contained herein.




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                                                    J
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Dated: New York, New York
         October 2, 2018


VIKRANT PAWAR                              ZAC}IARY W. CARTER
Anarncyfor Ptaintiff                       Corporation Counsel of the
20 Vesey Sr., Ste.    l2l0                    City ofNew York
New Y     NYI                              Attornelt for Defendants Mayer, Grieco, and
                                              McGrath
                                           i 00 Church Street, 3"1 Floor
                                           New York, New York 10007


By                                   By:
                 Pawar                             W. Brocker
     Artornelt   for Plaintiff             Ass is tant C o r p or ation   C o u ns e I




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